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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

Ariella Mahoney,                              )
                                              )
        Plaintiff,                            )
                                              )      Case No.:
v.                                            )      State Court Case No.: 2018-CV-000714
                                              )
KC Waterpark Management, LLC et al.           )
                                              )
                                              )
        Defendants.                           )

                                JOINT NOTICE OF REMOVAL

        COME NOW Defendant KC Waterpark Management, LLC and Defendant SVVI, LLC

(hereinafter collectively referred to as “Defendants”), pursuant to 28 U.S.C. §§ 1332, 1441, and

1446, and submit this Joint Notice of Removal to this Court for removal of the above- captioned

case from the Twenty-Ninth Judicial District, District Court, Wyandotte County, Kansas, Civil

Department, to the United States District Court for the District of Kansas. In support of this Joint

Notice of Removal, Defendants allege as follows:

     1. Defendant KC Waterpark Management, LLC and Defendant SVVI, LLC are defendants in

a civil suit brought against them in the Twenty-Ninth Judicial District, District Court, Wyandotte

County, Kansas, Civil Department, captioned, Ariella Mahoney v. KC Waterpark Management,

LLC, SVVI, LLC and John Doe, Civil Case Number 2018-CV-000714.

                     NOTICE OF REMOVAL IS TIMELY PURSUANT TO 28 U.S.C. § 1446

     2. This action was initially commenced in the Twenty-Ninth District, District Court,

Wyandotte County, Kansas, Civil Department, on August 29, 2018, when Plaintiff Ariella

Mahoney (Plaintiff) filed her Petition.
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   3. At the time this action was initially commenced and time of this removal, this action was

removable pursuant to 25 U.S.C. §1332 because Plaintiff is of diverse citizenship from each

Defendant.

   4. Defendant KC Waterpark Management, LLC was served on October 3, 2018 and

Defendant SVVI, LLC was served on October 5, 2018. Attached as Exhibit A is the return of

service for each defendant. Thirty days have not expired since the receipt by Defendants, “through

service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon which

such action or proceeding is based.” 28 U.S.C. § 1446(b).

   5. This Joint Notice of Removal is brought within “1 year after commencement of the action.”

28 U.S.C. § 1446(b).

   6. This Notice of Removal is properly directed to this Court pursuant to 28 U.S.C. § 1446(a)

as it is the District Court embracing the Twenty-Ninth District, District Court, Wyandotte County,

Kansas, where Plaintiff’s Petition is pending. See 28 U.S.C. § 90; D. Kan. Rule 81.1(b)(1).

           JURISDICTION BASED ON DIVERSITY OF CITIZENSHIP IS PROPER PURSUANT TO 28
                                        U.S.C. § 1332

   7. Plaintiff currently and at all times relevant herein was a resident of St. Louis County,

Missouri. Thus, Plaintiff is a citizen of the State of Missouri.

   8. For diversity jurisdiction purposes, the citizenship of a limited liability company is

determined by the citizenship of each of the entity’s members. Zufelt v. Isuzu Motors Am., L.L.C.,

727 F. Supp. 2d 117 (D.N.M Dec. 21, 2009) (a limited liability company is a citizen of every state

of citizenship of any of its members.) Krapes v. Equus Kansas Realty, L.L.C. 11-2696-JAR-JPO,

2012 WL 1954124 at *2 (D. Kan. May 30, 2012) (“The Tenth Circuit has long held that for entities

other than corporations, diversity jurisdiction depends on the citizenship of each of the entity’s

members.”); Penteco Corp. Ltd. P’ship—1985A v. Union Gas Sys., Inc., 929 F. 2d 1519, 1523
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(10th Cir. 1991) (diversity jurisdiction in a suit by or against the entity depends on the citizenship

of all the members, the several persons composing such association, each of its members.”) citing

Carden v. Arkoma Assoc., 494 U.S. 185, 110 S. Ct. 1015, 108 L.Ed.2d 157 (1990).

   9. Defendant KC Waterpark Management, LLC is, at the time of the filing of this Joint Notice

of Removal, and was at the time of the commencement of this lawsuit, a Kansas Limited Liability

Company comprised of three members, Jana K. Faber, Jeffrey W. Henry, and Gary L. Henry, all

citizens and domiciled in New Braunfels, Texas 78130. Thereby making Defendant KC Waterpark

Management, LLC a citizen of Texas.

   10. SVVI, LLC is, at the time of the filing of this Joint Notice of Removal, and was at the time

of the commencement of this lawsuit, a Kansas Limited Liability Company comprised of three

members, Jana K. Faber, Jeffrey W. Henry, and Gary L. Henry, all citizens and domiciled in New

Braunfels, Texas 78130. Thereby making Defendant SVVI, LLC a citizen of Texas.

   11. Plaintiff has alleged a cause of action against “John Doe” who is alleged to be a resident

of Kansas. However, the Court need not consider the status of a “John Doe” defendant as under

the federal removal statutes the presence of “John Doe” defendants at the commencement of an

action creates no impediment to removal. Pursuant to 28 U.S.C.§ 1441(a)(b)(1), the citizenship of

defendants sued under fictitious names shall be disregarded.

   12. Based on the above facts and supporting law, this Court has original jurisdiction over this

case based on diversity of citizenship pursuant to 28 U.S.C. § 1332, as Plaintiff is a native of

Missouri, the defendants are Limited Liability Companies in Kansas with its members in Texas.

   13. Plaintiff has asserted claims against Defendants, seeking damages exceeding $75,000.00

for alleged personal injury sustained by Plaintiff. Plaintiff’s claims are based on negligence.
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Plaintiff seeks damages in excess of $75,000.00, absent interest and costs; therefore, Plaintiff’s

claim for damages meets the jurisdictional requirement of 28 U.S.C. § 1332(a).

   14. Pursuant to 28 U.S.C. § 1446(a), Defendants attach as Exhibit B to this Joint Notice of

Removal a copy of Plaintiff’s Summons and Petition filed in the state court action as to each of

the Defendants respectively. Additionally, Defendants have requested the entire file from the

Clerk of the Wyandotte County District Court, which is attached as Exhibit C.

   15. Promptly after filing this Joint Notice of Removal, and pursuant to 28 U.S.C. § 1446(b)

and D. Kan Rule 81.1, Defendants are filing a copy of this Joint Notice of Removal with the

Twenty-Ninth Judicial District, District Court, Wyandotte County, Kansas, Civil Department, and

providing notice of the same to all parties.

       WHEREFORE, Defendants pray that this Court order this cause removed from the Twenty-

Ninth Judicial District, District Court, Wyandotte County, Kansas, Civil Department, to the United

States District Court for the District of Kansas, as provided by law, and thereupon proceed with

this civil action as if it had originally been commenced in this Court.

                               DESIGNATION OF PLACE OF TRIAL

       Defendants designate Kansas City, Kansas as the place of trial for this case.

                                     DEMAND FOR JURY TRIAL

       Defendants demand a trial by jury on all issues so triable.
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                                             KNIGHT NICASTRO, LLC


                                             /s/ Derek H. MacKay_
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                                             ATTORNEYS FOR DEFENDANTS



                                CERTIFICATE OF SERVICE

       I HEREBY certify that on this 1st day of November, 2018, I electronically filed the above
and foregoing using the CM/ECF system, which will send a notice of electronic filing to all counsel
of record.




                                                     /s/ Derek H. MacKay
